1
                                 PROOF OF SERVICE
2       MDL No. 3028 IN RE: ONE Apus Container Ship Incident on November 30, 2020
3                         Associated Cases: CAC/2:21-cv-08784
4
5
6
     STATE OF CALIFORNIA   )
                           )                ss.
7    COUNTY OF LOS ANGELES )
8
     I am employed in the County of Los Angeles, State of California. I am over the age of 18
9    and not a party to the within action; my business address is 111 W. Ocean Blvd., Suite
     1960, Long Beach, California 90802.
10
11   On February 23, 2022 I served the foregoing document described as CORPORATE
     DISCLOSURE STATEMENT on the interested parties in this action by electronically
12   serving or by mail as follows:
13
     [XX ] BY MAIL: I served the following persons and/or entities by placing a true and
14   correct copy thereof in a sealed envelope in the United States mail, first class, postage
     prepaid, and addressed per the attached list
15
     [xx ] VIA CM/ECF: The forgoing document was served on all other parties counsel that
16   have appeared via the Court’s CM/ECF system per Rule 4.1.
17
18   [X] Federal: I declare that I am employed in the office of a member of the bar of this court
19                at whose direction the service was made.

20         Executed on February 23, 2022 at Long Beach, California.
21                                                       s/Stephen M. Uthoff________
22                                                             Stephen M. Uthoff
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1                                             Service List
2
3    Ocean Network Express PTE Ltd
     c/o Albert E. Peacock, III
4    Peacock, Piper, Tong & Voss LLP
     100 West Broadway Suite 610
5    Long Beach, CA 90802
6
     Hapag-Lloyd AG
7    399 Hoes Ln #101
     Piscataway, NJ 08854
8
9    Tianshi Logistics Co., Limited
     Attn: Quartz Logistics Inc.
10   780 Nogales St, Suite D
     City of Industry, CA 91748-1306
11
12   Yang Ming (America) Corporation
     One Newark Center
13   1085 Raymond Blvd
     Newark, NJ 07102
14
15   Yang Ming Marine Transport Corporation c/o
     Yang Ming (America) Corporation
16   One Newark Center
17   1085 Raymond Blvd
     Newark, NJ 07102
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